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                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION


ZOHO CORPORATION,                                §
                                                 §
                      Plaintiff,                 §
                                                 §
       v.                                        §
                                                     Civil Action No. 1:22-cv-37-LY
                                                 §
LIBERTY PEAK VENTURES, LLC,                      §
                                                 §
                      Defendant.                 §
                                                 §
                                                 §
LIBERTY PEAK VENTURES, LLC,                      §
                                                 §
                      Counterclaimant,           §
                                                 §
       v.                                        §
                                                 §
ZOHO CORPORATION,                                §
                                                 §
                      Counter-Defendant,         §
                                                 §
       and                                       §
                                                 §
ZOHO CORPORATION PVT. LTD.                       §
                                                 §
                      Third-Party Defendant.     §

                   UNOPPOSED MOTION FOR LEAVE TO SUBMIT
                 SUPPLEMENTAL CLAIM CONSTRUCTION BRIEFING


       Plaintiff/Counter-Defendant Zoho Corporation Pvt. Ltd. and Third-Party Defendant Zoho

Corporation (collectively “Zoho”), by and through their counsel, jointly submit this motion for

leave to submit supplemental claim construction briefing.

       The parties have taken additional claim construction discovery, including expert

depositions. In order to complete the record on claim construction issues, Zoho asks the Court

for leave to submit a short supplemental brief of no more than five pages addressing the results


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of that discovery. Counsel for Liberty Peak Ventures has stated that it does not oppose this

motion if Liberty Peak Ventures is permitted to file a reply addressing the contents of Zoho’s

supplemental brief. Per the agreement of the parties, Zoho proposes the following schedule for

the supplemental submissions:

       March 6, 2023: Zoho files a supplemental brief addressing the claim construction
       discovery.

       March 20, 2023: Liberty Peak Ventures files a reply to Zoho’s supplemental brief.

For these reasons, Zoho requests that the Court approve the attached Order granting this Motion.



 Dated: March 1, 2023                               Respectfully submitted:

                                                    /s/ Phillip J. Haack
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                                                    COUNSEL FOR ZOHO CORPORATION
                                                    AND ZOHO CORPORATION PVT. LTD.




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                              CERTIFICATE OF CONFERENCE

       I hereby certify that counsel for Zoho conferred with counsel for Liberty Peak regarding

the relief requested in this motion on February 28, 2023 and that counsel stated that Liberty Peak

did not oppose this motion.


Dated: February 28, 2023                             /s/ Phillip J. Haack
                                                     Phillip J. Haack




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 1, 2023, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will send notification of such filing to all counsel

of record.



                                    By:    /s/ Phillip J. Haack
                                           Phillip J. Haack
